     Case
      Case2:08-cr-00309-JCM-PAL
           2:08-cr-00309-JCM-PAL Document
                                 Document 173
                                          172                Filed 12/19/11
                                                             Filed 12/20/11 Page
                                                                             Page1 1ofof2 2




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 6                                UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8    UNITED STATES OF AMERICA,                         )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10            v.                                        )          2:08-CR-309-JCM (PAL)
                                                        )
11    ARYTOM MATEVOSYAN,                                )
                                                        )
12                          Defendant.                  )
13                                       ORDER OF FORFEITURE
14            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United States recover
15    from ARYTOM MATEVOSYAN a criminal forfeiture money judgment in the amount of $1,000.00
16    in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Title 18, United States
17    Code, Section 982(a)(2)(B) and Title 18, United States Code, Section 1029(c)(1)(C).
18                   December
              DATED this        20, of
                         ______ day 2011.
                                       __________________, 2011.
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                                                   UNITED
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                                                      T D STATES
                                                          STATES DISTRICT JUDGE
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     Case
      Case2:08-cr-00309-JCM-PAL
           2:08-cr-00309-JCM-PAL Document
                                 Document 173
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                                                                             Page2 2ofof2 2




 1                                         PROOF OF SERVICE
 2            I, Heidi Skillin, certify that the following individuals were served with copies of the Order
 3    of Forfeiture on December 19, 2011, by the below identified method of service:
 4            Electronic Filing
 5            Osvaldo E. Fumo, Chtd
              1212 Casino Center Boulevard
 6            Las Vegas, Nevada 89104
              Email: ozzie@fumolaw.com
 7            Counsel for Gergana Hristova
 8            Michael W. Sanft
              Sanft Law
 9            520 S. Fourth Street
              Las Vegas, Nevada 89101
10            Email: sanftlawgroup@mac.com
              Counsel for Arytom Matevosyan
11
              Jonathan Powell
12            Patti & Sgro
              720 S. Seventh Street, Suite 300
13            Las Vegas, Nevada 89101
              Counsel for Mikayel Akopyan
14

15                                                         /s/HeidiSkillin
                                                           HEIDI SKILLIN
16                                                         Forfeiture Support Associate Clerk
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